Eastern District of New York - LIVE Database V6.1.1-Attorney Admission                                        Page 1 of 1



Update Person Information
Last name Lerner                              First name Richard                       Filer status                   
   Middle
          E.                                 Generation
                                                                                       Filer status           
    name                                                                                 comment
                                                                                                              
   Gender                                    ATY Type                        
        Title esq
      Bar
   number
          RL6477                                     Type aty                             Pro Hac Vice no 

      Office
        Unit
 Address 1 1375 Broadway
 Address 2 3rd Floor
 Address 3
        City New York                                State NY            Zip 10018
  Country US                                      County New York                 

                Not Associated with Firm                                      
                Abbey Gardy LOP
           Firm Ablondi, Foster and Sobin
                Abrams Gorelick Friedman & Jacobson
                Abrams, Fensterman, Fensterman, Eisman, Formato, Ferrara &    
                Abramson & Keller
                    Add/Modify Firm             Populate Firm Address Lines

          Phone 917-584-4864                                                              Fax 347-824-2006
      Primary
               richardlerner@msn.com
e-mail address
           DOB                                                                        End date
SSN                    Drivers License Number                   Drivers License State
 Next     Clear




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